Case 1:03-cV-OO439-DWI\/| ECF No. 30 filed 09/30/03 Page|D.385 Page 1 of 42

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF MICHIGAN

TIMOTHY J. RYAN and,
CHRISTINE A. RYAN,

Case No. 1:03-cv-439
Plaintiffs,

Hon. David W. McKeague
vs.

ADELE McGINN-LOOMIS and
MARY BENEDICT,

Defendants.

PLAINTIFFS’ BRIEF IN OPPOSITION TO DEFENDANTS’ MOTIONS TO DISMISS

Case 1:03-cV-OO439-DWI\/| ECF No. 30 filed 09/30/03 Page|D.386 Page 2 of 42

 

TABLE OF CONTENTS
INTRODUCTION ........................................................................................................................... 1
BACKGROUND ............................................................................................................................. 2
LAW AND ARGUMENT .............................................................................................................. 7
I. THE STANDARDS OF REVIEW. ....... 7 ............................................................................. 7
II. PLAINTIFFS’ 42 U.S.C. § 1983 CLAIMS AGAINST BOTH DEFENDANTS ARE
NOT BARRED BY THE ROOKER-FELDMAN DOCTRINE ......................................... 9
A. The Rooker-Feldrnan Doctrine. .................................................................................. 9
B. Defendants’ Reliance on the Rooker-Feldman Doctrine is Misplaced. .................... 10

III. THIS COURT SHOULD NOT ABSTATN FROM HEARING PLAINTIFFS’ CLAIMS
AGAINST DEFENDANT MCGINN-LOOMIS UNDER THE YOUNGER DOCTRINE.
........................................................................................................................................... 18

IV. THE QUESTIGN WHETHER DEFENDANT MCGINN-LOOMIS_ WAS ACTING
UNDER COLOR OF STATE LAW IS A QUESTION 0F FACT FOR THE JURY TO
DETERMINE. CoNsEQUENTLY, DEFENDANT MCGlNN-LOOMIS’ 12(13)(6)
MOTION ls PREMATURE. AND THE RYANS HAVE MADE SUFFICIENT
ALLEGATIONS THAT DEFENDANT MCGINN-LOOMIS WAS ACTING UNDER

COLOR OF STATE LAW TO SURVIVE A RULE 12(B)(6) MOTION ........................ 19
V. THE PARRATT DOCTRINE IS INAPPLICABLE TO THE RYANS’ § 1983 CLAIMS.
........................................................................................................................................... 23
VI. DEFENDANT MCGINN-LOOMIS IS NOT ENTITLED TO IMMUNITY FROM SUIT
UNDER THE DOCTRINES OF ABSOLUTE OR QUASI-IMMUNITY. ...................... 25
VII. PLAINTIFFS HAVE SUFFICIENTLY PLEADED A CLAIM FOR CONSPIRACY
AGAINST BOTH DEFENDANTS. ................................................................................. 27
VIII. PLAINTIFFS CAN MAINTAIN A CLAIM FOR MALICIOUS PROSECUTION
AGAINST BOTH DEFENDANTS. ................................................................................. 30
A. Termination in the Ryans’ Favor. ............................................................................. 30
B. Speciél Injury. ........................................................................................................... 31
IX. PLAINTIFFS CAN MAINTAIN A CLAIM FOR ABUSE OF PROCESS AGAINST
BOTH DEFENDANTS ..................................................................................................... 34
X. PLAINTIFFS HAVE PROPERLY ALLEGED A CLAIM OF INTENTIONAL
INFLICTION OF EMOTIONAL DISTRESS AGAINST BOTH DEFENDANTS. ....... 36
CONCLUSION ............................................................................................................................. 36

Case 1:03-cV-OO439-DWl\/l ECF No. 30 filed 09/30/03 PagelD.387 Page 3 of 42

 

INDEX OF AUTHORITIES
Cases
Adickes v S.H. Kress and Co.,
398 U.S. 144; 90 S.Ct. 1598; 28 L.Ed.2d 142 (1970) ............................................................... 29

Almond v DeKalb Counly, Georgia,
103 F.3d 1510 (11th Cir.1997) .................................................................................................. 19

Anderson v. Charter Township of Ypsz`lanti,
266 F.3d 487, 592-293 (6th Cir. 2001) ...................................................................................... 13

Barnes v. Winchell,
105/F.3d 1111 (6th Cir. 1997) .................................................................................................... 26

Barrelt v. Harrington,
130 F.3d 246 (6th Cir. 1997) ...................................................................................................... 25

Bianci v. Rylaarsdam, _
334 F.3d 895 (9th Cir. 2003) ...................................................................................................... 10

Casa Marie, Inc. v. Superior Court,
988 F.2d 252 (1St Cir. 1993) ...................................................................................................... 12

Chapman v. Higbee Co.,
319 F.3d 825 (6th Cir. 2003) ...................................................................................................... 20

Commum'ty Treatment Ctrs., Inc. v. Cily of Westland,
970 F.Supp. 1197 (E.D.Mich. 1997) ........................................................................................... 9

Cope v. Heltsley,
128 F.3d 452 (6th Cir. 1997) ...................................................................................................... 27

Copelana' v. Machulis,
57 F.3d 476 (6th Cir. 1995) ........................................................................................................ 24

Crawford v. Chal)ot,
202 F.R.D. 223 (W.D.Mich. 1998) ...................................... ................................. 9

Denman v. Leedy,
479 F.2d 1097 (6th Cir. 1973) .................................................................................................... 26

Denm's v. Sparks,
449 U.S. 24; 101 S.Ct. 183; 66 L.Ed.2d 185 (1980) ........................................................... 12, 23

ii

Case 1:03-cV-OO439-DWl\/l ECF No. 30 filed 09/30/03 PagelD.388 Page 4 of 42

District of Columbia Court of Appeals v. Feldman,
460 U.S. 462; 103 S.Ct. 1303; 75 L.Ed.2d 206(1983)...9,10,11,12,13,14,15,16, 17,18, 36

Dunn v. Tennessee,

697 F.2d 121 (6‘*‘ Cir. 1992) ...................................................................................................... 22
Duran v. The Detroit News,

200 Mich App 622; 504 NW2d 715 (1993).....7 ......................................................................... 36
Hamplon v Hanrahan,

600 F.2d 600 (7th Cir. 1979) ...................................................................................................... 28
Harlow v. Fitzgerald,

457 U.S. 800; 102 S.Ct. 2727; 73 L.Ed.2d 396 (1982) ............................................................. 26
Hooks v Hooks, /

771 F2d 935 (6“‘ Cir. 1985) ............................................................................ 28

Hudson v. Palmer,
468 U.S. 529; 104 S.Ct. 3194; 82 L.Ed.2d 393 (1984) ............................................................. 24

Jon_es v. Duncan,
840 F.2d 359 (6“‘ Cir. 1988) ...................................................................................................... 22

Lansing Ba'. Of Water and Light v. Deerfl`eld Ins Co.,
183 F.Supp.2d 979 (W.D.Mich 2002) ......................................................................................... 8

Leatherman v. Tarrant County Narcotz'cs lntelligence & Coordination Um't,
507 U.S. 163; 113 S.Ct. 1160; 122 L.Ed.2d 517 (1993) ............................................................. 8

Lopez v. VanderWater,
620 F.2d 1229 (7th Cir. 1980) .................................................................................................... 23

Parisi v Michigan Township Association. ,
123 Mich App 512; 332 NW2d 587 (1982) .............................................................................. 31

Pennzoil Co. v. Texaco, Inc.,
481 U.S. 1; 107 S.Ct. 1519; 95 L.Ed.2d 1 (1987) ..................................................................... 12

R.J.R. Services v. Aetna,
895 F.2d 279 (7th Cir. 1989) ...................................................................................................... 33

Redding v. St. Ewara',
241 F.3d 530(6‘*‘ Cir. 2001) ....................................................................................................... 19

iii

" ~ Case 1:03-cV-00439-DWl\/l ECF No. 30 filed 09/30/03 PagelD.389 Page 5 of 42

Scheid v Fanny Farmer Candy Shops, Inc.,
859 F.2d 434 (6"‘ Cir. 1988) ........................................................................................................ 9

Sofamor Danek Group, Inc.,
123 F.3d 394 (6th Cir. 1997), cert. denied, 523 U.S. 1106; 118 S.Ct. 1675;
140 L.Ed.2d 813 (1998) .............................................................................................................. 8

Stewart v. Fleet Financial Group,
Docket No. 96-2146, unpublished order of the Sixth Circuit Court of Appeals,

f11ed November 4, 1997 ....................................................................................................... 16, 17
Three Lakes Ass ’n. v Whiting,

75 Mich App 564; 255 NW2d 686 (1977) ................................................................................ 33
United States v. Owens,

54 F.3d 271 (6th Cir. 1995) ...................... './. .................................................................................. 9
Vinson v. Cambell Counly Fiscal Court,

820 F.2d 194 (6th Cir. 1987) ...................................................................................................... 25
Watts v. Burkharl,

854 F.2d 839 (6"‘ Cir. 1988) ...................................................................................................... 24
Weberg v Franks,

229 F3d 514 (6th Cir, 2000) ....................................................................................................... 28
Wyllie v. Dunn,

460 U.S. 1086; 103 S.Ct. 1778, 76 L.Ed.2d 349 (1983) ........................................................... 22
Young v. Murphy,

90 F.3d 1225 (7“‘ Cir. 1996) ...................................................................................................... 17
Zl`nerman v. Burch,

494 U.S. 113; 110 S.Ct. 975; 108 L.Ed.2d 100 (1990) ............................................................. 24
Statute
42 U.S.C. § 1983 ...................................... l, 2, 7,11,12,13,14,15,16,19, 20, 22, 23, 29

Federa| Ru|es of Civi| Procedure
Federal Rule of Civil Procedure 12(b)(6) ......................................... 2, 9, 22, 29, 30, 33, 35, 36, 37

Federal Rules Of Civil Procedure 12(b)(1) ........................................................ 2, 7, 8, 9, 18, 19, 37

iv

Case 1:03-cV-00439-DWl\/l ECF No. 30 filed 09/30/03 PagelD.390 Page 6 of 42

INTRODUCTION

This case involves the separation of a child from her family. Plaintiffs, Timothy
and Chn'stine Ryan, are positioned no differently than the parents of a child who had been
kidnapped. The trauma that they have been through is unimaginable. The Ryans fear that their
daughter will never see them again. And even if she does, the lost time and contact are
irreplaceable. They rightfully and legitimately seek compensation from those people responsible
for taking their daughter away - Adele McGinn-Loomis and Mary Benedict.

Defendants Adele-McGinn Loomis, a Kent Courity Circuit Court Clerk, and Mary
Benedict, a Grand Rapids attomey, conspired to use the court system to effect a de facto
termination of the Ryans’ parental rights to their then l6-year-0ld daughter Clairef They planned
their scheme far in advance of their frivolous court filings. They hand-picked the judge to
preside over the illegitimate court proceedings They manipulated the random judicial
assignment for civil cases. They lied to the state court. They perjured themselves in court
pleadings They engaged in illegal ex parte contacts with the judge whom they chose for the
underlying proceedings And although the underlying case was ultimately dismissed in the
Ryans’ favor, they were nonetheless successful in their efforts because they obtained their
objective of depriving the Ryans of the care, custody, and management of their daughter Claire.
Importantly, defendants achieved their success because McGinn-Loomis, in conspiracy with
Benedict, abused McGinn-Loomis’ position as a deputy court clerk.

The Ryans now seek compensation from those people responsible for, inter alia,
the de facto termination of their parental rights. They seek this compensation under 42 U.S.C. §
1983 and various pendent state-law claims. In lieu of answering the Ryans’ complaint,

defendants have each filed separate motions and briefs to dismiss the complaint under Federal

` . Case 1:03-cV-00439-DWl\/l ECF No. 30 filed 09/30/03 PagelD.391 Page 7 of 42

Rules of Civil Procedure 12(b)(1) or 12(b)(6). The Ryans submit this single brief in opposition
to the motions of both defendants

For the reasons that follow, defendants motions to dismiss must be denied.

BACKGROUND

As defendants have conceded, their motions under Rules 12(b)(1) and 12(b)(6)
require this Court to limit its review to the well-pleaded allegations in the complaint Despite
these concessions however, each defendant rarely cites to the complaint and each raises
numerous “factual” assertions that the Ryans vigorously dispute and, more importantly, are
beyond the scope of this Court’s proper review. Although defendants have gone well beyond the
pleadings in their presentation of the “facts,” the Ryans will not. Except for a few paragraphs
that respond to defendants’ charges about the Ryans’ decision to send their daughter to a
boarding school in Utah, and defendants suggestion that the underlying case was settled, the
Ryans will limit their recitation of the background of this case to the well-pleaded allegations of
their complaint, only departing from this guiding principle when necessary to give context to the
unsupported statements made by defendants

This case arises out of conspiracy by the defendants, deputy Kent County Circuit
Court Clerk Adele McGinn-Loomis and attorney Mary Benedict, to abuse the legal process for
the purpose of separating a teenage girl from her family. The parents of that girl are the
plaintiffs in this case, Timothy and Christine Ryan. The Ryans have been married to each other
for 20 years They have four children. Their oldest child is their daughter Claire Evelyn Ryan.
Claire is currently 18 years old. When McGinn-Loomis and Benedict commenced their abusive

litigation, Claire was 16 years old. Complaint, 1[ 12.

Case 1:03-cV-00439-DWl\/l ECF No. 30 filed 09/30/03 PagelD.392 Page 8 of 42

During the Spring and Summer of 2001, Claire had been dating a high school
classmate by the name of Ryan McGinn. He is the son of defendant Adele McGinn-Loomis.
During the Summer of 2001, defendant McGinn-Loomis, her son, and apparently Claire made a
decision that they would all like Claire to leave the Ryan household and move in with the
McGinn-Loomis farnily. The Ryans objected to this plan, and so Claire and McGinn-Loomis
began laying plans for Claire to run away and move into the McGinn-Loomis household.
Complaint, 111 7-12.

In early July 2001, Claire tried to run away, bu/t her father prevented her from
succeeding. Later in July 2001, McGinn-Loomis arranged for she and Claire to met with
attorney Benedict. The purpose of that meeting was to develop a strategy for Claire to
successiillly and permanently leave her family.

Defendant McGinn-Loomis is a deputy court clerk for the Kent County Circuit
Court. Complaint, 1Hl 13, 15. The plan that was developed was for Claire to run away from
home and be concealed in the McGinn-Loomis household. Complaint, 11 7. McGinn-Loomis
believed that, because of her position with the Kent County Circuit Court, she would be able to
persuade a Kent County Circuit Court Judge to sign an order granting her guardianship of Claire
before the Ryans knew where Claire was

On September 10, 2001, Claire did run away from home. Complaint, 11 8. She did
move into the McGinn-Loomis household. Complaint, 11 9. Timothy Ryan discovered where
Claire had gone and’went to bring her home. But defendant McGinn-Loomis continued to
conceal Claire in her home, and she stood in her driveway chanting and pointing at Mr. Ryan.
Her son made obscene gestures Only with police assistance was Mr. Ryan ultimately able to

remove Claire from the McGinn-Loomis household. Complaint, 11 12.

1 Case 1:03-cV-00439-DWl\/l ECF No. 30 filed 09/30/03 PagelD.393 Page 9 of 42

In their briefs, defendants suggest that the Ryans did something wrong when they
sent their daughter to Cross Creek Manor. But after Claire ran away from home, the Ryans
discovered that she had been cutting herself with razor blades and found clothes with blood
stains on them that corresponded to the areas where she had reportedly been cutting herself. The
Ryans found a suicide note that Claire had prepared. Earlier in the Summer, Claire had been
seeing a psychologist, and that psychologist had reported that Claire exhibited traits of a
psychological disorder that carried with it a substantial increase in the risk of suicide. Also
earlier in /the Summer, Ryan McGinn had locked himself in his bedroom and threatened to kill
himself. His mother reported to Mrs Ryan that he routinely threatened to kill himself. As of
September 17, 2001, the date that Mr. Ryan removed Claire from the McGinn-Loomis household
with police assistance, Claire was apparently suicidal, engaging in extremely self-destructive
behavior, had come under the negative influence of Benedict and McGinn-Loomis, and had
developed this very unusual relationship with them.

The Ryans were afraid that their daughter was headed for teenage suicide and so
they made the very difficult decision to send her to a boarding school in Utah with a residential
treatment program, Cross Creek Manor. Complaint, il 52. Cross Creek Manor had at least three
things recommended that the Ryans found attractive and necessary to diffuse the immediate
crisis - no McGinn-Loomis, no razor blades, and intensive psychotherapy. The Ryans are caring
parents. They desperately wanted to help their troubled daughter, not hurt her.

On September 20, 2001, without the knowledge or consent of Claire, attorney
Benedict, in conspiracy with McGinn-Loomis, filed a lawsuit entitled “Complaint for Return and
Divorce from Parents.” Complaint, 11 27, 43; Exhibit A to the Ryans’ complaint By that

lawsuit, defendants sought to “divorce” Claire from her parents Although the state-court

l` - CaSe 1203-CV-OO439-DW|\/| ECF NO. 30 filed 09/30/03 Page|D.394 Page 10 Of 42

complaint was filed on September 20, 2001, the litigation actually began the night before when
defendants conspired after hours to avoid the random judicial assignment required by law to
secure the assignment of the judge of their choice, the Honorable Patricia Gardner. Complaint, 1111
21-24. On September 19, 2001, Judge Gardner agreed to sign an order that defendant Benedict
had prepared to send the police to take Claire away from the Ryans Judge Gardner signed this
order even though it stated that she had read a verified complaint and affidavit Complaint, 111
40-42. There was no verified complaint and there was no affidavit Judge Gardner also signed
this order before the commencement of any legal proceeding C/omplaint, 11 26. There was no
notice to the Ryans and no attempt to notify the Ryans of this private meeting between Judge
Gardner and attorney Benedict. Complaint, il 26.

Later, defendant Benedict amended her complaint to attempt to set forth claims
for “Emancipation” and “Abuse and Neglect.” Complaint, 11 48; Exhibit F to the Ryans’
complaint Both of these claims were filed without the knowledge or consent of Claire. These
claims were frivolous and wholly defective on their face. Complaint, 111[ 44, 77. Benedict also
signed and filed a petition for guardianship which was perjurious on its face and which she
withdrew a few days later. Complaint, fl 78. Benedict signed all of these pleadings even though
they contained allegations that she knew to be false. All of these claims were ultimately
dismissed on March 29, 2001, after the Ryans had filed a motion for summary disposition
Rather than allowing Judge Gardner to rule on that motion, attorney Benedict filed a motion
requesting that the case be dismissed.

In their briefs, defendants suggest that the case ended with some sort of settlement
that included a guardianship arrangement There was a guardianship, but there was no

Settlement. Here is how the guardianship arose: Judge Gardner had ordered that Claire live in

" ' CaSe 1203-CV-00439-DW|\/| ECF NO. 30 filed 09/30/03 Page|D.395 Page 11 Of 42

foster care during the pendency of the litigation. By February 1, 2002, the foster care provider
refused to allow Claire to remain in her home. The guardian ad litem told Mr. Ryan that unless
he found somewhere for Claire to live she would require that Claire live at “The Bridge.” The
“Bridge” is a halfway house for runaways in Grand Rapids. There is no supervision. lt is not the
kind of place that the Ryans wanted their daughter to be.

Thus, as of February l, 2003, the Ryans faced the following situation:

1. Claire had no place to live.

2. Claire refused to come home and, after several months of the influence of
this horrible litigation, had developed a deep hostility for her parents

3. Forcing her to come home would add a huge amount of stress to the Ryans
other children.

4. The guardian ad litem was intent on getting some order to require Claire to
live at “The Bridge.”

A neighbor of the Ryans offered to take Claire in. This neighbor became the
guardian. The neighbor’s niece happens to be a lawyer in Grand Rapids and practices in the

family court She recommended that a guardianship order be entered. The Ryans agreed

because:
1. They were very comfortable with Claire living with this lady.
2. The guardianship order prevented Claire from running away to the Loomis
home.
3. The guardianship order prevented Claire from having any contact with
Adele McGinn-Loomis and allowed only limited supervised contact with

her son.
This guardianship order was entered without the involvement, participation, or
consent of Benedict. lt was entered in a wholly separate proceeding with a new case number and

a new judge, the Honorable Janet Haynes.

" ' CaSe 1203-CV-00439-DWl\/| ECF NO. 30 filed 09/30/03 Page|D.396 Page 12 Of 42

Even though all of defendants’ claims were ultimately dismissed, defendants’
conduct nonetheless had the effect of depriving the Ryans of their constitutional rights to the
care, custody, and management of their child.

Before embarking on a discussion of the merits of defendants’ motions, the Ryans
must point out that the legal theories stated in their complaint are not novel. A case remarkably
similar to this case is Dykes v. Hosemann, 743 F.2d 1488 (11th Cir 1984). That case arose out of
a custody dispute in a divorce. The husband’s father happened to be a Florida state-court judge
who illicitly intervened with another Florida state-court judge, the defendant Hosemann. Id. at
1491-1492. Much like this case, Dykes involved illicit ex parte meetings with the judge, falsified
court documents, and a series of orders issued without any evidence to support them that had the
effect of terminating the mother’s right to the custody of her son. The mother sued her ex-
husband, both of the judges, and her ex-husband’s lawyer, and the Eleventh Circuit held that she
had stated valid claims under § 1983 against all defendants based on a conspiracy to violate her
constitutional rights to the care, custody, and management of her child.

By this lawsuit, the Ryans, like the mother in Dykes, seek the relief that they are
entitled to under § 1983 and the pendent state-law claims from this Court for defendants’ roles in

taking their daughter Claire away from them. Those claims should not be dismissed.

LAW AND ARGUMENT
I. THE STANDARDS OF REVIEW.
- Each defendant has filed a motion to dismiss for lack of subject matter
jurisdiction under Federal Rule of Civil Procedure 12(b)(l). The Sixth Circuit recognizes two
types of Rule l2(b)(1) motions First, a defendant can make a “facial” attack challenging the

sufficiency of the plaintiffs factual allegations In such a motion, all well-pleaded factual

CaSe 1203-CV-00439-DWl\/| ECF NO. 30 filed 09/30/03 Page|D.397 Page 13 Of 42

allegations are accepted as true. Second, a defendant can make a “factual” attack challenging the
actual fact of subject matter jurisdiction, in Which case the district court analyzes the motion
under Rule 56 standards See Gillett v. United States, 233 F.Supp.2d 874, 877 (W.D.Mich.
2002) (McKeague, J.), citing Ohio Nat’l Life Ins. Co. v. United States, 922 F.2d 320, 324 (6th
Cir. 1990). Although defendants have not specified the type of Rule 12(b)(1) motions that they
have brought, it is clear that they are making a “facial” attack upon the Ryans’ allegations

Defendants have also filed a motion to dismiss under Federal Rule of Civil
Procedure 1/2(b)(6). Under Rule 12(b)(6), a district court may dismiss a claim “‘only if it is clear
that no relief could be granted under any set of facts that could be proved consistent with the
allegations of the complaint.”’ Bosscher v. Township of Algoma, 246 F.Supp.2d 791, 795
(W.D.Mich. 2003) (McKeague, J.), quoting Zolman v. Internal Revenue Serv., 87 F.Supp.2d 763,
764 (W.D.Mich. 1999); see also Conley v. Gibson, 355 U.S. 41,-45-46; 78 S.Ct. 99; 2 L.Ed.2d 80
(1957). (A district court cannot dismiss a complaint unless “it appears beyond doubt that the
plaintiff can prove no set of facts in support of its claim which Would entitle it to relief.”) In
ruling on the motion, the district court must construe the allegations in the complaint in the light
most favorable to the plaintiff, accepting all factual allegations as true. Id.; see also In re
Sofamor Danek Group, Inc., 123 F.3d 394, 400 (6th Cir. 1997), cert denied, 523 U.S. 1106; 118
S.Ct. 1675; 140 L.Ed.2d 813 (1998).

The pleading rules generally require only a “‘short and plain statement of the
claim”’; they do not require detailed allegations Lansz`ng Bd. Of Water and Light v. Deer/ield
Ins Co., 183 F.Supp.2d 979, 981 (W.D.Mich 2002) (McKeague, J.), quoting Leatherman v.
Tarrant County Narcotics Intelligence & Coordination Unit, 507 U.S. 163, 168; 113 S.Ct. 1160;

122 L.Ed.2d 517 (1993). In order to survive a 12(b)(6) motion, the complaint “‘must contain

CaSe 1203-CV-00439-DWl\/| ECF NO. 30 filed 09/30/03 Page|D.398 Page 14 Of 42

either direct or inferential allegations respecting all the material elements to sustain a recovery
under some viable legal theory.”’ Id., quoting Scheid v Fanny Farmer Candy Shops, Inc., 859
F.2d 434, 436 (6th Cir. 1988) (emphasis in original).

As will be explained below, defendants’ motions to dismiss under Rules 12(b)(1)
and 12(b)(6) must be denied.

II. PLAINTIFFS’ 42 U.S.C. § 1983 CLAIMS AGAINST BOTH DEFENDANTS ARE
NOT BARRED BY THE ROOKER-FELDMAN DOCTRINE

A. The Rooker-Feldman Doctrine.

The Rooker-Feldman doctrine is “‘a combination/ of the abstention and res
judicata doctrines . . . [and] stands for the proposition that a federal district court may not hear
an appeal of a case already litigated in state court”’ Crawford v. Chabot, 202 F..RD. 223, 228
(W.D.Mich. 1998) (McKeauge, J.), quoting United States v. Owens, 54 F.3d 271, 273 (6th Cir.
1995) (citing District of Columbia Court oprpeals v. Feldman, 460 U.S. 462, 476; 103 S.Ct.
1303; 75 L.Ed.2d 206 (1983), and Rooker v. Fidelily Trust Co., 263 U.S. 413; 44 S.Ct. 149; 68
L.Ed. 362 (1923)). The Rooker-Feldman doctrine generally requires a federal district court

‘to dismiss cases for lack of jurisdiction where: (1) the party against whom the
doctrine is being applied had the opportunity to raise issues pending before the
federal court in the instant case, or those inextricably intertwined therewith, in a

prior state court proceeding; and (2) these issues, or those inextricably intertwined
therewith, were adjudicated in the prior state court proceeding.’

Id., quoting Communily Treatment Ctrs., Inc. v. City of Westland, 970 F.Supp. 1197, 1214
(E.D.Mich. 1997).

The purpose of the Rooker-Feldman doctrine is “‘to prevent a party losing in state
court from seeking what in substance would be appellate review of the state judgment in a
United States district court, based on the losing party’s claim that the state judgment itself
violates the loser’s federal rights.”’ Hood v. Keller, 2003 FED App. 0314P (6th Cir., decided

September 3, 2003), quoting Tropfv. Fid. Nat’l Title Ins. Co., 289 F.3d 929, 936-937 (6th Cir.

CaSe 1203-CV-00439-DWl\/| ECF NO. 30 filed 09/30/03 Page|D.399 Page 15 Of 42

2002), cert. denied 123 S.Ct. 887 (2003). Importantly, in deciding whether to apply the Rooker-

C‘€

Feldman doctrine, the federal district courts cannot simply compare the issues involved in the
state-court proceeding to those raised in the federal-court plaintiff’s complaint,”’ but the courts
“‘must pay close attention to the relief sought by the federal-court plaintiff.”’ Id., quoting Bianci

vv. Rylaarsdam, 334 F.3d 895, 900 (9th Cir. 2003) (emphasis in original).

B. Defendants’ Reliance on the Rooker-Feldman Doctrine is Misplaced.

lt is clear that the state court did not directly decide the claims presented by the
Ryans in this federal action. The Ryans never claimed in the state court that defendants had
violated their federal constitutional rights or that they were entitled to recover compensatory
damages from defendants ln fact, as respondents to statutory emancipation and abuse and
neglect claims, the Ryans could not have made such claims in the state court, because the state-
court action was simply not a proper forum to seek the relief that they now seek in this federal
action. Defendants here were technically not even parties to the state-court action.
Consequently, in order for the Rooker-Feldman doctrine to apply, defendants must show that the
Ryans’ federal claims are “inextricably intertwined” with the state-court judgment They cannot
do so for several reasons

First, it is important to recognize that the Ryans prevailed in the state court The
state court ultimately dismissed the case that attorney Benedict, in conspiracy with McGinn-
Loomis, filed against the Ryans This fact alone renders the Rooker-Feldman doctrine

¢&6

inapplicable, because the purpose for the doctrine is to prevent`a party losing in state court
from seeking what in substance would be appellate review of the State judgment in a United
States district court, based on the losing party ’s claim that the State judgment itself violates the

993

loser ’s federal rights Hood, supra, quoting Tropf, supra (emphasis supplied). In other words,

because the Ryans prevailed in the state court, no recognized purpose would be served in

10

CaSe 1203-CV-00439-DWl\/| ECF NO. 30 filed 09/30/03 Page|D.400 Page 16 Of 42

denying the Ryans the opportunity to pursue their § 1983 claims, which arise specifically from
defendants ’ activities in connection with the prosecution of the state-court action.

More importantly, defendants misconstrue the nature of the Ryans’ federal claims
and the relief that they seek from this Court. Although the state court lacked jurisdiction to enter
any order in the underlying case (this is the only issue before the Michigan Court of Appeals),
this Court’s review of the propriety of the state-court orders and its final order dismissing the
case is not essential to the Ryans’ § 1983 claims What is essential is a review of the propriety of
defendants’ conduct in connection with obtaining those orders and /prosecuting the underlying
state-court action. The state court’s orders are jurisdictionally invalid and otherwise defective in
numerous respects, and the Ryans are confident that the Michigan Court of Appeals will enter an
opinion holding so. But defendants obtained the state-court orders through fraud, artifice, illegal
ex parte contacts malicious charges, and perjury, and through the abuse of McGinn-Loomis’
position as a deputy court clerk. Thus, even if the state court appropriately handled the
underlying case, the Ryans would nonetheless be permitted to maintain § 1983 claims against
defendants, because their claims are not dependent expressly or impliedly, upon the propriety of
the state court’s conduct or its orders

This important distinction ~ between a challenge to the state court decision itself
and a claim against the people involved in obtaining the decision - was recognized and discussed
by Judge Posner in the Seventh Circuit’s decision in Nesses v. Shepard, 68 F.3d 1003 (7th Cir.
1995):

Were [the plaintiff] merely claiming that the decision of the state court was
incorrect even that it denied him some constitutional right, the [Rooker-Feldman]
doctrine would indeed bar his claim. But if he claims, as he does, that people
involved in the decision violated some independent right of his, as the right (if it

is a right) to be judged by a tribunal that is uncontaminated by politics, then he
can, without being blocked by the Rooker-Feldman doctrine, sue to vindicate that

11

`CaSe 1203-CV-00439-DWl\/| ECF NO. 30 filed 09/30/03 Page|D.401 Page 17 Of 42

right and show as part of his claim for damages that the violation caused the
decision to be adverse to him. Otherwise there would be no federal remedy for
violation of federal rights whenever the violator so far succeeded in corrupting the
state judicial process as to obtain a favorable judgment, as alleged in cases such as
Dennis v. Sparks, 449 U.S. 24; 101 S.Ct. 183; 66 L.Ed.2d 185 (1980), and Casa
Marie, Inc. v. Superior Court, 988 F.2d 252, 259 (1St Cir. 1993). This result
would be inconsistent with cases in which, for example, police officers are sued
under 42 U.S.C. § 1983 for having fabricated evidence that resulted in the
plaintiff’ s being convicted in a state court

Id. at 1005 (some internal citations omitted).

As Judge Posner cogently recognized, plaintiffs like the Ryans, must be allowed
to pursue § 1983 cl/aims against the people involved in obtaining harmful state-court orders, if the
conduct of those people in connection with obtaining those orders resulted in a violation of the
plaintiffs’ constitutional rights Otherwise, violators, like defendants would escape liability, and
injured plaintiffs, like the Ryans, would be denied a remedy, if the defendants so far succeeded
in their illicit activities that they in fact obtained a favorable result in the state court

True, the Ryans are not happy with the orders of the State court They concede
this But they recognize that this Court is without jurisdiction to act as an appellate court to
undue or overturn those orders The Ryans simply seek damages from defendants flowing from
defendants’ conduct in connection with the prosecution of the state-court action. The Rooker-
Feldman doctrine does not bar these claims This is clear. Nesses, supra.

As evidenced by the preceding discussion, the Ryans’ § 1983 claims are not
“inextricably intertwined” with the state-court judgment A “federal claim is inextricably
intertwined with the state-court judgment if the federal claim succeeds only to the extent that the
state court wrongly decided the issues before it.” Peterson v. Novelties, Inc. v. City of Berkley,
305 F.3d 386, 391 (6th Cir. 2002), quoting Pennzoil Co. v. Texaco, Inc., 481 U.S. 1, 25; 107 S.Ct.
1519; 95 L.Ed.2d l (1987). “Though simple in concept, the doctrine is not easily applied.” Id.

And the Sixth Circuit has cautioned district courts against dismissing cases under the Rooker-

12

'CaSe 1203-CV-00439-DWl\/| ECF NO. 30 filed 09/30/03 Page|D.402 Page 18 Of 42

Feldman doctrine in situations where the question before the federal court does not implicate
issues decided by an earlier state court Id. at 393, citing Anderson v. Charter Township of
Ypsilanti, 266 F.3d 487, 592-293 (6th Cir. 2001). When presented with a motion to dismiss under
the Rooker-Feldman doctrine the focus Should be “on whether the federal court, if it were to
adjudicate [the plaintiff"s] claims, would effectively be acting impermissibly as an appellate
court reviewing the state court disposition.” Id. at 391. This would not be the case should this
Court exercise jurisdiction over this case.

/ ln addition to the Seventh Circuit’s decision in Nesses, supra, the Sixth Circuit’s
decision in Peterson, supra, also supports that the Rooker-Feldman doctrine does not bar the
Ryans’ claims In Peterson, the plaintiffs, an entity selling fireworks and its owner, filed § 1983
claims against the City of Berkley and one of its police officers, following the police officer’s
seizure of fireworks from the plaintiffs and his arrest of several of the plaintiffs’ employees The
police officer made the seizure and arrests while a state-court action was pending in which the
plaintiffs were challenging the City’s denial of the plaintiffs’ application for a permit to sell
fireworks, and while a temporary restraining order (entered May 9, 1996) issued by the state
court was in effect compelling the City to allow the plaintiffs to sell fireworks not prohibited by
law. The plaintiffs were contending in the state-court action that the City’s denial violated
various rights, and they requested that the state court order the City to grant the permit
Peterson, supra at 388-390.

Following the police officer’s seizure of the fireworks and his arrests of the
plaintiffs’ employees, the plaintiffs filed a motion in the state court, arguing that the police
officer’s conduct violated the May 9 restraining order. Peterson, supra at 389. In ruling on the

motion, the state court issued an order (on July 1, 1996) reaffirming its May 9 temporary

13

'CaSe 1203-CV-00439-DWl\/| ECF NO. 30 filed 09/30/03 Page|D.403 Page 19 Of 42

restraining order, but the Court did not find the City in contempt and it did not award contempt
damages Id.

After the state court proceedings were completed, the plaintiffs filed their § 1983
claims in federal court, alleging First Amendment Retaliation, the deprivation of property
without due process of law, malicious prosecution, and unreasonable search and seizure.
Peterson, supra at 390. The district court dismissed these claims under the Rooker-Feldman
doctrine. But the Sixth Circuit reversed. After discussing the principles underlying the Rooker-
Feldm/an doctrine, the Sixth Circuit stated:

lf the state court had, in the course of its opinion, held that the City had not acted
illegally with respect to its search, seizure, and prosecution of [the plaintiffs’]
property and employees, then [the plaintiffs’] federal claims could succeed ‘only
to the extent that the state court wrongly decided the issues before it’ However,
the July 3 state court opinion does not discuss the legality of the City’s actions; it
merely reaffirms the validity of the court’s earlier order while silently refusing to
hold the City in contempt of that order. Therefore, the district court in the present
case could give [the plaintiffs] relief on [their] federal claims without effectively
finding that the state court wrongly decided any issues before it. For this reason,

the Rooker-Feldman doctrine does not apply to bar the court’s consideration of
[the plaintiffs’] claims based on the state court’s 1996 order.

Peterson, supra at 392 (intemal citations omitted).

Likewise, if the state court here, in the course of its opinions or orders, had held
that defendants, McGinn-Loomis and Benedict, had not violated the Ryans’ constitutional rights
in prosecuting the state-court action, then there might be an argument that the Ryans’ federal
claims could succeed “only to the extent that the state court wrongly decided the issues before
it.” Peterson, supra. But the constitutional claims now before this Court were never before the
state court The state court never addressed whether defendants deprived the Ryans of their
constitutional rights to the care, custody, and management of their child. And the state court
never addressed whether defendants deprived the Ryans of their rights to a fair, impartial, and

randomly assigned state-court judge. This Court, therefore, can give the Ryans the relief that the

14

CaSe 1203-CV-00439-DWl\/| ECF NO. 30 filed 09/30/03 Page|D.404 Page 20 Of 42

seek through their federal claims without effectively finding that the state court wrongly decided
the issues before it, inasmuch as those issues were never (and could not have been presented) to
the state court

Defendants cite Several cases that they claim support their contention that the
Ryans’ claims are barred by the Rooker-Feldman doctrine. None of those cases, however,
provide such support. For example, on pages 8-10 of her brief, Benedict discusses Ritter v. Ross,
992 F.2d 750 (7th Cir. 1993). In Ritter, the plaintiffs filed § 1983 claims following the state
court’s entry of a tax lien foreclosure judgment against their real prop/erty. The plaintiffs argued
in federal court that the state court foreclosure judgment constituted an unconstitutional
deprivation of their property without due process of law. Id. at 751. On appeal from the district
court decision dismissing the case, the Seventh Circuit relied sua sponte upon the -Rooker-
Feldman doctrine and affirmed the district court Ritter, supra at 752-755. ln doing so,
however, the court found dispositive the plaintiffs’ concessions that “but for the tax lien
foreclosure judgment [in state court] they would have no complaint [in federal court]; they would
still have their land and would have suffered no injury.” Id. at 753. The Ryans make no such
concession here. lnstead, they rightfully contend that this Court can grant the relief that they
seek by reviewing the defendants’ conduct only, without review of the conduct of the state court

Moreover, Benedict’s suggestion that this Court could dismiss the Ryans’ claims
under Ritter, supra, because the Ryans had an adequate remedy under state law, namely, a
motion for sanctions against attorney Benedict on the ground that her state-court filings were
frivolous, is equally without merit First, such a motion would have been futile if brought before
defendants’ hand-picked judge. More importantly, however, the relief available under a motion

for sanctions, i.e., costs and reasonable attorney fees, would not have provided the Ryans with an

15

lCetSe 1203-CV-00439-DWl\/| ECF NO. 30 filed 09/30/03 Page|D.405 Page 21 Of 42

adequate remedy for the deprivations of the important constitutional liberty interests in question
here.
Defendant McGinn-Loomis also cites (on page 9 of her brief) as analogous an
unpublished decision of the Sixth Circuit, Pancake v. McCowan, 64 Fed. Appx. 464; 2003 U.S.
`App. LEXIS 8427 (6th Cir. April 30, 2003) (attached as Exhibit 3 to McGinn-Loomis’ brief).
Pancake, however, is not analogous to this case and does not support applying the Rooker-
Feldman doctrine. ln Pancake, the plaintiff, on behalf of herself and those similarly situated,
brought § 1983 claims seeking declaratory relief and money damages She claimed that the
practice of certain Ohio state court judges of granting ex parte injunctions barring one party to a
divorce action from the marital residence without notice and hearing Was unconstitutional. Id. at
*2. The district court dismissed the plaintiff’s claims under the Rooker-Feldman doctrine, and
the Sixth Circuit affirmed on the ground that “a federal court’s review of [the plaintist] claim
would involve an inquiry into whether the actions taken by the state court violated Pancake’s
constitutional rights” Id. at * 6. But as discussed above, unlike in Pancake, supra, this Court is
not required to make any inquiry into the actions of the state court in reviewing the Ryans’
claims To the contrary, it is the defendants ’ conduct that is in question here. See Nesses, supra.
Likewise, McGinn-Loomis’ reliance (on page 10 of her brief) upon the
unpublished decision of the Sixth Circuit in Stewart v. Fleet Financial Group, Docket No. 96-
2146, unpublished order of the Sixth Circuit Court of Appeals, filed November 4, 1997 (attached
as Exhibit 4 to McGinn-Loomis’ brief), is equally misplaced. The're, the Sixth Circuit properly
found that, under the Rooker-Feldman doctrine, a “plaintiff’ s claims are ‘inextricably
intertwined’ if he claims an injury as a result of the state court decisions.” Id. at p. 3. Here, the

Ryans are claiming an injury as a result of defendants ’ conduct, not the state-court decisions As

16

`CaSe 1203-CV-00439-DWl\/| ECF NO. 30 filed 09/30/03 Page|D.406 Page 22 Of 42

explained in Nesses, supra, the Ryans’ claims are not barred by the Rooker-Feld)nan doctrine.
Stewart, supra, provides no support for defendants

Finally, McGinn-Loomis again misconstrues the nature of the Ryans’ claims
when she relies upon the Seventh Circuit’s decision in Young v. Murphy, 90 F.3d 1225 (7th Cir.
1996). ln Young, the Seventh Circuit upheld the dismissal of the plaintiff’s case under the
Rooker-Feldman doctrine, because the plaintiff “specifically” sought to have the federal district
court “review the specifics” of the state court proceeding, “declare” that the state court had erred,
and award damages to the plaintiff resulting from those errors Id. at 1231. Also, in Young, the
consequences of the allegedly unconstitutional state-court proceeding had already been rectified
when the plaintiff presented his claims to the federal district court. Id. Young is clearly
dissimilar to this case.

The Ryans are not specifically (or generally for that matter) asking this Court to
review the specifics of the state-court proceeding, declare that the state-court erred in those
proceedings and award them damages as a result of those errors Nor has the effect of
defendants’ unconstitutional conduct ever been rectified. Instead, the Ryans are asking this
Court to review the propriety of defendants ’ conduct which resulted in damages to the Ryans and
which has not been rectified. The Rooker-Feldman doctrine does not apply to the Ryans’ claims

Defendants would have this Court refuse to hear the Ryans’ claims simply
because defendants were successful in their efforts to violate the Ryans’ constitutional rights
' But Nesses, supra, recognizes that the Rooker-Feldman doctrine is not intended to bar claims
against defendants who succeed in their illicit objectives when those claims go directly to the
propriety of the defendants’ conduct and not to the propriety of the state-court judgment And

even without reference to the Seventh Circuit’s decision in Nesses, supra, the Rooker-Feldman

17.

lCetSe 1203-CV-00439-DWl\/| ECF NO. 30 filed 09/30/03 Page|D.407 Page 23 Of 42

doctrine does not apply here because, in order for the Ryans to prevail on their § 1983 claims it
is not necessary for this Court to review the propriety of the state court’s conduct; it is only
necessary for this Court to review the propriety of defendants’ conduct in connection with their
prosecution of the state-court proceeding, Thus, the Ryans’ claims are not barred by the Rooker-
Feldman doctrine, nor are they inextricably intertwined with the state-court decisions

Because the Rooker-Feldman doctrine does not bar the Ryans’ claims this Court
should deny defendants’ motion to dismiss under Rule 12(b)(l).
III. THIS COURT SHOULD NOT ABSTAIN FROM HEARING PLAINTIFFS’

CLAIMS AGAINST DEFENDANT MCGINN-LOOMIS UNDER THE YOUNGER
DOCTRINE.

Defendant McGinn-Loomis next argues (on pages 11-13 of her brief) that this
Court should abstain from exercising jurisdiction over this case under the Younger doctrine. See
Younger v. Harris, 401 U.S. 37; 91 S.Ct. 746; 27 L.Ed.2d 669 (1971) Under the Younger
doctrine, a federal court may abstain from exercising jurisdiction over a case only where three
criteria are metz “there are state proceedings that are (1) currently pending; (2) involve an
important state interest; and (3) will provide the federal plaintiff with an adequate opportunity to
raise his or her constitutional claims.” Habich v. City of Dearborn, 331 F.2d 524, 530 (6th Cir.
2003).

Although the Ryans are currently appealing the decision of the state court in the
Michigan Court of Appeals, the “key question here is whether the state proceeding Would afford
[plaintiffs] an adequate opportunity to raise [their constitutional claims].” Habich, supra. The `
answer is, No. ln their pending state-court appeal, the Ryans are asking the Michigan Court of
Appeals to declare all orders entered by the state court void ab initio on the ground that the state
court lacked subject-matter jurisdiction to enter any order in connection with the case. The

question before this court - whether defendants violated the Ryans’ constitutional rights ~ is not

18

'CaSe 1203-CV-00439-DWl\/| ECF NO. 30 filed 09/30/03 Page|D.408 Page 24 Of 42

before the Michigan Court of Appeals and was never before the state court Nor could it have
been in the context of the emancipation and abuse and neglect actions to which defendants were
technically not even parties The Ryans have not raised, nor was there any opportunity for them
to raise, their constitutional claims in the pending state-court action or appeal.

Thus, because the state-court proceeding involved only the collateral issue of
whether the Ryans’ daughter Claire should be emancipated from the Ryans and because the
state-court appeal involves only the collateral issue of Whether the state court possessed subject-
matter jurisdiction over the underlying action, there was no opportunity for the Ryans to raise the
question of whether the defendants violated their constitutional rights in the state court See
Habich, supra. The Younger doctrine is simply not applicable, and McGinn-Loomis’ motion to
dismiss under Rule 12(b)(1) should be denied.

IV. THE QUESTION WHETHER DEFENDANT MCGINN-LOOMIS WAS ACTING
UNDER COLOR OF STATE LAW IS A QUESTION OF FACT FOR THE JURY
TO DETERMINE. CONSEQUENTLY, DEFENDANT MCGINN-LOOMIS’
12(B)(6) MOTION IS PREMATURE. AND THE RYANS HAVE MADE
SUFFICIENT ALLEGATIONS THAT DEFENDANT MCGINN-LOOMIS WAS

ACTING UNDER COLOR OF STATE LAW TO SURVIVE A RULE 12(B)(6)
MOTION.

Defendant McGinn-Loomis next argues that she was not acting under color of
state law sufficient to support a § 1983 claim. “To state a claim under § 1983, a plaintiff must
allege the violation of a right secured by the Constitution and laws of the United States and must
show that the alleged deprivation was committed by a person acting under color of state law.”
West v. Adkins, 487 U.S. 42, 47; 108 S.Ct. 2250; 101 L.Ed.2d 40 (1988); Redding v. St. Eward,
241 F.3d 530, 532 (6th Cir. 2001). Although on page 15 of her brief, McGinn-Loomis cites an
Eleventh Circuit decision, Almond v DeKalb Counly, Georgia, 103 F.3d 1510 (11th Cir. 1997),

for the proposition that the question whether a person has acted under color of state law is one of

19

'CaSe 1203-CV-00439-DWl\/| ECF NO. 30 filed 09/30/03 Page|D.409 Page 25 Of 42

law for the court to decide, this is not accurate under prevailing Sixth Circuit authority.
Consequently, McGinn-Loomis’ motion is premature
The inquiry is fact-specific, and the presence of state action is determined on a
case-by-case basis Although ‘it is possible to determine . . . whether a person
acted under color of state law as a matter of law, there may remain in some

instances unanswered questions of fact regarding the proper characterization of
the actions for the jury to decide.’

Chapman v. Higbee Co., 319 F.3d 825, 834 (6th Cir. 2003) (intemal citations omitted).

The Ryans agree that just because a state employee engages in tortious conduct
does/ not mean that the state employee has acted under “color of state law.” But “[i]t is firmly
established that a defendant in a § 1983 suit acts under color of state law when he abuses the
position given him by the State.” West, supra at 487 U.S. at 49-50. Here, even without engaging
in discovery, there are several reasons for concluding that McGinn-Loomis engaged in such
abuse.

The following facts are undisputed by defendants During all relevant time
periods McGinn-Loomis was (and still i_s) a deputy court clerk employed by the State of
Michigan and assigned to the Kent County Circuit Court. Defendant McGinn-Loomis’ brief, p.
1. ln the Summer of 2001, the Ryans’ daughter Claire was dating McGinn-Loomis’ son, Ryan
McGinn. Defendant McGinn-Loomis’ brief, p. 2. During this time period, McGinn-Loomis put
Claire in touch with Benedict, an attorney with whom defendant McGinn-Loomis was familiar
by virtue of her position as a court clerk. She put Claire in touch with attorney Benedict so that
Claire might pursue legal action against her parents Defendant McGinn-Loomis’ brief, p. 2.

On September 19, 2001, after normal working hours McGinn-Loomis called
Kent County Circuit Court Judge Patricia Gardner’s court reporter at home and asked for Judge

Gardner’s home telephone number. Defendant McGinn-Loomis’ brief, p. 2. Upon learning that

McGinn-Loomis wanted to speak to her, Judge Gardner telephoned McGinn-Loomis at home,

20

'CaSe 1203-CV-00439-DWl\/| ECF NO. 30 filed 09/30/03 Page|D.410 Page 26 Of 42

again after working hours Defendant McGinn-Loomis’ brief, p. 2. During this telephone
conversation, Judge Gardner advised McGinn-Loomis that she could provide her home phone
number to attorney Benedict and agreed to discuss the Ryan “matter” with attorney Benedict.
Defendant McGinn-Loomis’ brief, p. 2. Judge Gardner did in fact discuss the Ryan matter with
attorney Benedict, after working hours and without notice to the Ryans and she signed an order
requiring the police to take the Ryans’ daughter Claire away from them. Defendant Benedict’s
brief, p. 4. The order recited that Judge Gardner had read and considered a verified motion and
affidavit when no such pleadings existed, see Exhibit C to the Ryans’ complaint, although it is
unknown what attorney Benedict or McGinn-Loomis might have told Judge Gardner regarding
the existence of these pleadings

The following day, attorney Benedict filed the order that Judge Gardner had
signed the night before, along with a complaint captioned “Complaint for Return and Divorce
from Parents” in the same Kent County Circuit Court Clerk’s office where McGinn-Loomis
worked. Defendant Benedict’s brief, p. 3. Defendant Benedict directed the court clerk who
accepted the order and complaint for filing to assign the case to Judge Gardner, and the court
clerk complied with Benedict’s direction. See Exhibit D to the Ryans’ complaint As a result,
Judge Gardner was never randomly assigned to preside over the underlying case. Instead, she
was hand-picked by defendants lt is unknown what the court clerk who accepted the pleadings
for filing knew about the matter, whether she had discussions about the filing with McGinn-
Loomis, or what role McGinn-Loomis played in connection the intake of the new matter.

Although defendants’ concessions certainly answer some questions about

McGinn-Loomis’ role in the manipulation of the judicial assignment and the deprivation of the

21

CaSe 1203-CV-00439-DWl\/| ECF NO. 30 filed 09/30/03 Page|D.411 Page 27 Of 42

Ryans’ constitutional right to the care, custody, and management of their daughter, they give rise
to many more questions - all of which the Ryans seek to answer through discovery.

Under Rule 12(b)(6), a district court may dismiss a claim “‘only if it is clear that
no relief could be granted under any set of facts that could be proved consistent with the
allegations of the complaint.”’ Bosscher, supra, quoting Zolman, supra. This clearly cannot be
said about the allegations in the Ryans’ complaint, especially in a § 1983 case.

ln Dunn v. Tennessee, 697 F.2d 121 (6th Cir. 1992), cert. denied sub nom. Wyllie
v. Dunn, 460 U.S. 1086, 103 S.Ct. 1778, 76 L.Ed.2d 349 (1983), this court
reiterated the standard used for reviewin the sufficiency of the allegations in a
complaint for an action under section 19 3:

Dismissals of complaints under the civil rights statutes are
scrutinized with special care, A complaint need not set down in
detail all of the particularities of a plaintiffs claim against a
defendant Rule 8(a)(2) simply requires short and plain statement
of the claim showing that the pleader is entitled to relief . . ..’ Fed.
R. Civ. P. 8(a)(2). All a complaint need do is afford the defendant
‘fair notice of what the plaintiffs claim is and the grounds upon
which it rests.’ [cites omitted]. A motion to dismiss under Rule
12(b)(6) should not be granted ‘unless it appears beyond doubt
that the plaintiff can prove no set of facts in support of his claim
which would entitle him to relief [cites omitted]. [emphasis
added].

ln order to state a claim under section 1983, a plaintiff must allege two elements:
(1) the plaintiff must show a deprivation of rights secured by the “Constitution

and law” of the United States, and (2) plaintiff must show that the defendant
deprived him of this federal right “under color of law.”

Jones v. Duncan, 840 F.2d 359, 361-362 (6th Cir. 1988) (some internal citations omitted)
(emphasis in original).

The Ryans have clearly made sufficient allegations that defendant McGinn-
Loomis acted “under color of state law” to survive a 12(b)(6) motion. Whether the will prevail
at trial (or against a Rule 56 motion) is another question that is premature to ask.

Moreover, although Judge Gardner, the state-court judge who presided over the

underlying action, is generally immune from liability, her conduct and participation in the

22

`CaSe 1203-CV-00439-DWl\/| ECF NO. 30 filed 09/30/03 Page|D.412 Page 28 Of 42

deprivation of the Ryans’ constitutional rights may also satisfy the color of state law requirement
even though she is presently not a party to this lawsuit See, e.g., Dennis v. Sparks, 449 U.S. 24,
29; 101 S.Ct. 183; 66 L.Ed.2d 185 (1980) (“Private parties who corruptly conspire with a judge
in connection with such conduct are thus acting under color of state law within the meaning of §
1983 as it has been construed in our prior cases.”) w

For these reasons defendant McGinn-Loomis’ motion to dismiss on this ground
must be denied.

V. THE PARRATT DOCTRINE IS INAPPLICABLE TQ THE RYANS’ § 1983
CLAIMS.

Defendant McGinn-Loomis next argues (on pages 16-19 of her brief) that she did
not engage in conduct that resulted in the deprivation of the Ryans’ constitutional rights
McGinn-Loomis does not challenge (nor could she) the legitimacy of the constitutionally
protected liberty interests at stake, namely, inter alia, the Ryans’ right to the care, custody, and
management of their children, see Troxel v. Granville, 530 S.Ct. 56, 65-66; 120 S.Ct. 2054; 247
L.Ed.2d 49 (2000); their right to a disinterested judge, Lopez v. VanderWater, 620 F.2d 1229,
1235-1236 (7th Cir. 1980); and their right to a judge who had not prejudged their case, Lopez,
supra. McGinn-Loomis merely contends that the Ryans are required to “plead (and ultimately
show) that the state corrective procedures were inadequate to correct the constitutional
violation.” See McGinn-Loomis’ brief, p. 17. In essence, McGinn-Loomis is arguing that the
Parratt doctrine warrants dismissal of the Ryans’ § 1983 claims See Parratt v. Taylor, 451 U.S.
1908; 101 S.Ct 1908; 68 L.iEd.2d 420 (1981). But the Parratt doctrine has no applicability to the
Ryans’ claims

The Parratt doctrine permits dismissal of a procedural due process claim if: (1)

the deprivation of property was unpredictable or random; (2) predeprivation process was

23

CaSe 1203-CV-00439-DWl\/| ECF NO. 30 filed 09/30/03 Page|D.413 Page 29 Of 42

impossible or impracticable; and (3) the state actor was not authorized to take the action that
deprived the plaintiff of property or liberty. Copeland v. Machulis, 57 F.3d 476, 479 (6th Cir.
1995). lf these conditions are met, then a procedural due process claim will not be stated unless
the plaintiff pleads and proves that available state remedies are inadequate to address the wrong.
Id. “The underlying rationale of Parratt is that when deprivations of property are effected
through random and unauthorized conduct of state employees predeprivation procedures are
simply ‘impracticable’ since the state cannot know when such deprivations will occur.” Hudson
v. Palmer, 468/U.S. 529, 533; 104 S.Ct. 3194; 82 L.Ed.2d 393 (1984). Importantly, however, the
Parratt doctrine is “clearly inapplicable ‘where a deprivation of property is caused by conduct
pursuant to established state procedure, rather than random and unauthorized conduct.”’ Watts v.
Burkhart, 854 F.2d 839, 843 (6th Cir. 1988), quoting Hudson, supra at 532.

Here, the Ryans clearly allege that there are “established state procedures”
through which they ultimately suffered the loss of the care, custody, and management of their
daughter. Those procedures are enumerated in il 91 _of the Ryans’ complaint Although these
“established state procedures” were clearly not followed (which the Ryans also allege), this does
not matter for purposes of a Parratt doctrine analysis The Parratt doctrine becomes
inapplicable when the claimed deprivations were allegedly accomplished through “established
state procedures” but those procedures were not properly followed. See, e.g., Zinerman v.
Burch, 494 U.S. 113, 136-138; 110 S.Ct. 975; 108 L.Ed.2d 100 (1990) (“[I]t would indeed be
strange to allow state officials to escape § 1983 liability for failing‘to provide constitutionally
procedural protections by assuming that those procedures would be futile because the same state

officials would find a way to subvert them.”)

24

'CaSe 1203-CV-00439-DWl\/| ECF NO. 30 filed 09/30/03 Page|D.414 Page 30 Of 42

More importantly, McGinn-Loomis fails to account for the fact that the
deprivation of the Ryans’ right to the care, custody, and management of their daughter is a
substantive due process violation for which the Parratt doctrine has no applicability. lt cannot
be disputed that the Ryans have a “fundamental liberty interest” in the care, custody, and
management of their children. Vinson v. Cambell County Fiscal Court, 820 F.2d 194, 200 (6th
Cir. 1987). lt also cannot be disputed that the allegations in the Ryans’ complaint against both
defendants are sufficient enough to state such a violation. Id. at 201 (“[The defendant’s] alleged
unlawful deprivation of plaintiff s liberty interest in the custody of her children was in our view,
an egregious abuse of governmental power sufficient to state a substantive due process
violation.”) When a violation of substantive due process is sufficiently alleged, the existence of
state postdeprivation remedies that might support application of the Parratt doctrine “has no
bearing on whether a cause of action exists” and the Parratt doctrine consequently has no
applicability. Id. at 198.

For these reasons this Court should not grant defendant McGinn-Loomis’ motion
to dismiss under the Parratt doctrine,

VI. DEFENDANT MCGINN-LOOMIS IS NOT ENTITLED TO IMMUNITY FROM
SUIT UNDER THE DOCTRINES OF ABSOLUTE OR QUASI-IMMUNITY.

Defendant McGinn-Loomis next moves to dismiss the Ryans’ claims (pages 19-
20 of her brief) on the ground that she is immune from suit She first argues that she is
absolutely immune from liability. The Ryans acknowledge that judges are generally immune
from § 1983 claims for acts performed in their judicial capacities under the doctrine of judicial
immunity. Barrett v. Harrington, 130 F.3d 246, 253-254 (6th Cir. 1997). And the Ryans also
acknowledge that court clerks are generally entitled to absolute immunity under the doctrine of

quasi-judicial immunity, as long as the plaintiffs allegations relate to an act performed by the

25

'CaSe 1203-CV-00439-DWl\/| ECF NO. 30 filed 09/30/03 Page|D.415 Page 31 Of 42

clerk with the scope of the clerk’s official quasi-judicial duties Denman v. Leedy, 479 F.2d
1097 (6th Cir. 1973). The cloak of quasi-judicial immunity, however, covers only “those persons
performing tasks so integral or intertwined with the judicial process that these persons are
considered an arm of the judicial officer who is immune.” Bush v. Rauch, 38 F.3d 842, 847 (6th
Cir. 1994). Importantly, the defendant carries the burden of proof to show that a plaintiffs
claims are barred by the doctrine of immunity. Barnes v. Winchell, 105 F.3d 1111, 1115 (6th Cir.
1997)

Defendant McGinn-Loomis cannot seriously argue that her conduct as alleged in
the Ryans’ complaint related to the performance of “tasks so integral or intertwined with the
judicial process that [she should be] considered an arm of the judicial officer who is immune.”
Bush, supra. There is nothing quasi-judicial in coordinating (and engaging in) an illicit ex parte
contact with a judge. Nor is conspiring to manipulate the random judicial assignment for a civil
action a task integral with the judicial process And lying to the Court and conspiring to submit
false pleadings are not functions so intertwined with judicial process that the person who so lies
and conspires is considered an arm of the judicial officer cloaked with immunity. McGinn-
Loomis’ conduct as alleged in the Ryans’ complaint is not subject to the doctrine of quasi-
judicial immunity.

McGinn-Loomis is also not qualifiedly immune from liability. Under the doctrine
of qualified immunity, as discussed in Harlow v. Fitzgerald, 457 U.S. 800, 818; 102 S.Ct. 2727;
73 L.Ed.2d 396 (1982), a government official who is engaged in a discretionary function is
generally “‘shielded from liability [and, indeed, from suit] for civil damages insofar as their

conduct does not violate clearly established constitutional rights of which a reasonable person

26

.'CaSe 1203-CV-00439-DWl\/| ECF NO. 30 filed 09/30/03 Page|D.416 Page 32 Of 42

would have known.”’ Cope v. Heltsley, 128 F.3d 452, 457 (6th Cir. 1997). McGinn-Loomis is
unquestionably not qualifiedly immune from liability.

The Ryans’ right to the care, custody, and management of their daughter is a
clearly established constitutional right of which a reasonable person would have known. See
Troxel, supra. This cannot be legitimately contested. “The liberty interest at issue in this case ~
the interest of parents in the care, custody, and control of their children ~ is perhaps the oldest of
the fundamental liberty interests recognized by [the United States Supreme Court].” Troxel,
supra 530 U.S. at 65. lf it cannot be said that a reasonable person would believe that this
constitutional right is clearly established, then no right would ever be so considered.

The Ryans have properly alleged that McGinn-Loomis in conspiracy with
Benedict engaged in illicit activities and misused McGinn-Loornis’ position as a court clerk to
deprive the Ryans of, inter alia, the most fundamental of constitutional rights McGinn-Loomis
cannot hide behind the cloak of absolute or qualified immunity on these facts and allegations
Her motion to dismiss under 12(b)(6) must be denied.

VII. PLAINTIFFS HAVE SUFFICIENTLY PLEADED A CLAIM FOR CONSPIRACY
AGAINST BOTH DEFENDANTS.

Defendants have argued that the Complaint does not sufficiently state a claim for
conspiracy because there are “no material factual allegations supporting the existence of a single
common plan between” between defendants Of course, the conspiracy is sufficiently alleged.

The law on what must be alleged and proven to support a claim for civil
conspiracy is well settled:

A civil conspiracy is an agreement between two or more persons to injure another
by unlawful action. Express agreement among all the conspirators is not
necessary to find the existence of a civil conspiracy. Each conspiracy need not
have known all of the details of the illegal plan or all of the participants involved.

All that must be shown is that there was a single plan, that the alleged co-
conspirator shared in the general conspiratorial objective, and that an overt act

27

`CaSe 1203-CV-00439-DWl\/| ECF NO. 30 filed 09/30/03 Page|D.417 Page 33 Of 42

was committed in furtherance of the conspiracy that caused injury to the
complainant

Weberg v Franks, 229 F3d 514, 526 (6“‘ Cir, 2000); Hooks v 1100/s 771 F2d 935, 943-44 (6"‘
Cir, 1985).

An express agreement among all the conspirators is not a necessary element of the
conspiracy. Hampton v Hanrahan, 600 F.2d 600 (7th Cir. 1979). Nor is the plaintiff required to
show that each participant in a conspiracy knew the exact limits of the illegal plan or the identity
of all the participants Id. at 621.

Here, the Ryans allege a common plan and that plan was to deprive them of their
/

constitutional right to the care, custody, and management of their child, Claire. The Ryans allege
that the method for accomplishing this was to abuse the legal process and McGinn-Loomis’
position as a deputy court clerk. The plan was to hand pick the judge whom defendants preferred
for their lawsuit gaining unlawful ex parte access to that judge, and prosecuting baseless and
frivolous claims in a proceeding presided overby their hand-picked judge.

The Ryans allege specific facts which demonstrate the existence of this
conspiracy:

1. That Claire ran away and ran to the McGinn-Loomis household.
Complaint, 1111 8-9.

2. That McGinn-Loomis concealed Claire in her home. Complaint, 11 10.

3. That after Mr. Ryan with police assistance regained his daughter, McGinn-
Loomis contacted Benedict. Complaint, 11 12.

4. That before Claire ran away Loomis and Benedict has collaborated in
preparing some guardianship petition which would have appointed
Loomis, as Claire’s Guardian. Complaint ii 11.

5. That after the close of normal Court business hours McGinn-Loomis
contacted Judge Gardner at her home and asked that she act in this case
before it had been filed and asked that she meet privately with attorney
Benedict. Complaint, 11 21.

28

"CaSe 1203-CV-00439-DWl\/| ECF NO. 30 filed 09/30/03 Page|D.418 Page 34 Of 42

6. That McGinn-Loomis did in fact arrange for a private meeting between
Judge Gardner and attorney Benedict. Complaint, il 22.

7. That the private meeting between attorney Benedict and Judge Gardner
did occur on the night before the case was filed. Complaint, 11 23.

8. That during the Summer of 2001, Claire had collaborated with McGinn-
Loomis for Claire to run away f`rom her parents home and move into the
McGinn-Loomis household. Complaint, il 7.

9. That after Benedict with the assistance of McGinn-Loomis had procured
the improper assignment of Judge Gardner and after they had engaged in
the improper private meeting and procured an improper ex parte order,
Benedict then filed a series of malicious and frivolous claims Complaint,
1111 20, 27-77.
Adickes v S.H. Kress and Co., 398 U.S. 144; 90 S.Ct. 1598; 28 L.Ed.Z/d 142
(1970), was an action brought under § 1983 against a private party, a restaurant ln Adickes, the
` allegation was that the restaurant had conspired With a police officer to refuse to serve the
plaintiff based on race. The only allegation that pointed to a conspiracy was that the police
officer was present when the plaintiff was denied service. ln addressing the issue of the
sufficiency of proof of a civil conspiracy, the Supreme Court said that the question of the
existence of a conspiracy was a question for the jury so long it was possible for the jury to “infer
from the circumstances [that the alleged conspirators] had a meeting of the minds and thus
reached an understanding to achieve the conspiracy’s objectives” Adickes, supra, 298 U.S. at
158-159.

Certainly under the facts as alleged, a jury could infer that Benedict and McGinn-
Loomis had a common plan - to take Claire away from her family - and to accomplish that plan
they agreed to abuse McGinn-Loomis’ position as a court employee to secure an improper
judicial assignment and an improper ex parte meeting and thereby facilitate the prosecution of

the frivolous and malicious claims The Ryans’ allegations are sufficient to survive a 12(b)(6)

motion, and defendants’ motions to dismiss should be denied.

29

'CaSe 1203-CV-00439-DWl\/| ECF NO. 30 filed 09/30/03 Page|D.419 Page 35 Of 42

VIII. PLAINTIFFS CAN MAINTAIN A CLAIM FOR MALICIOUS PROSECUTION
AGAINST BOTH DEFENDANTS.

The defendants have claimed that the malicious prosecution counts have not been
sufficiently pleaded because the Ryans do not allege that the prior action terminated in their
favor and do not allege “special injury.” These contentions are without merit

A. Termination in the Rvans’ Favor.

The Ryans allege that the underlying litigation “terminated with a dismissal of all
claims against the plaintiffs” Complaint il 123. This is a Rule 12(b)(6) motion that challenges
the sufficiency of the allegations of the complaint not a summary judgment motion under Rule
56. T he complaint could not more clearly and directly allege that the underlying litigation
terminated in the Ryans ’favor. Thus, on that basis alone, this argument of defendants should be
rejected.

But defendants go on to say that because the “claim for emancipation was
dismissed without prejudice,” the proceedings did not in fact terminate in the Ryans’ favor.
First, only two of the three claims that defendants filed were dismissed without prejudice. The
divorce from parent claim was dismissed with prejudice at the outset of the litigation, The
emancipation, and abuse and neglect claims were dismissed without prejudice. Here is how that
came to be: The Ryans filed a motion for summary disposition and to declare all interim orders
void ab initio. The hearing on that motion was scheduled for March 22, 2002. Rather than allow
Judge Gardner to rule on that motion, attorney Benedict filed a motion to dismiss Judge
Gardner granted attorney Benedict’s motion to dismiss and then refused to rule on the Ryans’
motion for summary disposition.

The Michigan Court of Appeals has held that the "termination-in-favor-of-

plaintiff’ element of a malicious prosecution claim is satisfied when the person who brings the

30

f CaSe 1203-CV-00439-DWl\/| ECF NO. 30 filed 09/30/03 Page|D.420 Page 36 Of 42

underlying claim withdraws it ln Parisi v Michigan Township Association., 123 Mich App 512,
516; 332 NW2d 587 (1982), the Court quoting favorably from the Third Restatement on Torts
stated:

Civil proceedings may be terminated in favor of the person against whom they are

brought under the rule stated in clause (b)(l) by the favorable adjudication of the

claim by a competent tribunal or (2) by the withdrawal of the proceedings by the

person bringing them, or (3) by the dismissal of the proceedings because of his
failure to prosecute them,

Emphasis supplied.

ln this case, attorney Benedict filed a “Divorce from Parents” claim. Claire has

/
not been divorced from her parents Attomey Benedict filed an Emancipation claim. Claire has
not been emancipated. Attomey Benedict filed an Abuse and Neglect claim. There has never
been any ruling that Claire was a victim of abuse or neglect Every single claim attorney

Benedict filed has been dismissed. The fact that they were dismissed at her insistence does not

mean that the case terminated in her favor. The Ryans were clearly the prevailing parties
B. Special In|'ul_'y.

The defendants also claim that the complaint does not sufficiently allege special
injury, another required element of malicious prosecution claim. But at 11 26 of the complaint
the Ryans allege:

By reason of defendants’ malicious prosecution of their claims in case no. 01-

09528-DZ, plaintiffs have suffered a deprivation of their right to the care,
custody, and companionship of their daughter and this constitutes special injury.

That this allegation satisfies the requirement that the plaintiffs plead special injury is confirmed
by the seminal Michigan case on this issue, Friedman v Dozorc, 412 Mich 1; 312 NW2d 585
(1981). ln that case, the Michigan Supreme Court described the special injury required to
support a malicious prosecution claim as follows: “injury to one’s fame (by scandalous

allegation), injury to one’s person or to liberty, and injury to one’s property.” Id. at 34. Of`

31

1 CaSe 1203-CV-00439-DWl\/| ECF NO. 30 filed 09/30/03 Page|D.421 Page 37 Of 42

particular relevance to this case is the Friedman court’s discussion at footnote 33 where it gave

the following example of the type of deprivation that would constitute special injury:
North Carolina follows the “English Rule” and extends the tort of malicious
prosecution only “to include malicious institution of civil proceedings which
involve an arrest of the person or seizure of property or which result in some
special damage.” (Citation omitted.) “The driver’s license once issued is a
significant interest subject to constitutional due process protections.” (Citation
omitted.) And deprivation thereof may therefore be regarded as equivalent to a
seizure of property, i.e., special injury.

Thus, Friedman clarifies that the deprivation of a constitutionally protected
liberty interest constitutes special injury which can support a malicious prosecution cause of
action, Of course, the care, custody, and management of one’s child is a significant liberty
interest protected by the Fourteenth Amendment to the United States Constitution. Troxel,
supra. Since the defendants’ conduct in connection with the underlying litigation had the effect
of depriving the Ryans of that right they have suffered special injury.

Defendants also claim that there is no special injury because the damage to the
parent-child relationship is an injury which “would necessarily occur in all suits prosecuted for
similar causes of action.” Benedict’s brief, p.14. This argument misconstrues the nature of the
injury alleged as “special.” lt also evidences a misunderstanding of the law.

The special injury alleged in the complaint is not the emotional damage caused to
the parent-child relationship. The special injury alleged is the deprivation of the legal right to the
care, custody, and management of a child. The deprivation of this constitutional right is not an
item of damage that would necessarily ‘ flow from the prosecution of any similar suit
Presumably, in any other similar case that had been filed where there was no divorce from parent
decreed, no emancipation ordered, and no abuse and neglect found, the parents would not have

been deprived of the care, custody, and management of their child. Thus, the deprivation that

constitutes special injury here was not a necessary outcome of this litigation.

32

'CaSe 1203-CV-00439-DWl\/| ECF NO. 30 filed 09/30/03 Page|D.422 Page 38 Of 42

When defendants say that the rule that special injury requires some injury that
“would not necessarily occur in all suits prosecuted for similar causes of action” applies here,
they are taking the courts’ statements entirely out of context The rule involved is designed to
explain that damage caused by the litigation does not constitute special damages For instance,
in Friedman, supra, the subject of the underlying case was medical malpractice The court in
Friedman explained that in the malicious prosecution case, this peripheral type of damage
would not satisfy the special injury requirement Similarly, in R.J.R. Services v. Aetna, 895 F.2d
279, 284 (7th Cir. 1989), the Court held that damz§e to the plaintiffs reputation that flowed from
the underlying fraud lawsuit did not constitute special injury, because this peripheral type of
damage would be expected to “normally arise in defending a similar lawsuit.”

Where, as here, the damage that flows directly from the maliciously filed lawsuit
constitutes a deprivation of a constitutionally guaranteed liberty interest the “special injury”
requirement is satisfied.

For these reasons this Court should deny defendants’ motions to dismiss the

Ryans’ malicious prosecution claim under Rule 12(b)(6).

33

CaSe 1203-CV-00439-DWl\/| ECF NO. 30 filed 09/30/03 Page|D.423 Page 39 Of 42

IX. PLAINTIFFS CAN MAINTAIN A CLAIM FOR ABUSE OF PROCESS AGAINST
BOTH DEFENDANTS.

Defendants next claim that the complaint does not sufficiently allege a cause of
action for abuse of process The Michigan court decision that is most instructive on this point is
Three Lakes Ass ’n. v Whiting, 75 Mich App 564; 255 NW2d 686 (1977). ln that case, Whiting
wished to develop a condominium on Torch Lake. The Three Lakes Association had been vocal
in its opposition. Whiting sued the Association and informed it that if it stopped its opposition to
the condominium project it would drop its lawsuit The Association sued for abuse of process
Quoting favorably from Prosser, Torts (4th/ed.), § 121, p. 857, the Court described
an abuse of process claim as follows:
The improper purpose usually takes the form of coercion to obtain a collateral
advantage, not properly involved in the proceeding itself, such as the surrender of
property or the payment of money, by the use of process as a threat or a club.
T here is, in other words a form of extortion, and it is what is done in the course of
negotiation, rather than the issuance of any formal tort itself which constitutes
the tort.

Id. at 573 (emphasis in original).

The Court of Appeals held that by offering to drop the lawsuit in exchange for the
cessation of all criticism of the project Whiting had evidenced its ulterior purpose and an
irregular use of process ln other words the purpose of the lawsuit was to quiet the criticism, not
adjudicate the claims The irregular use of process was using the burden of litigation to coerce.
Therefore, the Court held that the plaintiffs had sufficiently stated a cause of action,

In this case, the Ryans allege that the divorce from parent emancipation, and
abuse and neglect claims were not truly filed for the purpose of obtaining an adjudication on

those claims lnstead, they were filed for the purpose of obtaining the improper interim orders

and for the purpose of using the horror of the litigation process as a lever to coerce the Ryans to

34

'CaSe 1203-CV-00439-DWl\/| ECF NO. 30 filed 09/30/03 Page|D.424 Page 40 Of 42

agree to a guardianship arrangement There are specific factual allegations made in the
complaint to support that theory.

First, 1111 45-77 of the complaint detail all of the fatal deficiencies with the claims
Benedict filed. lf those allegations are true, which for purposes of this motion they must be
treated as true, it is legitimate to conclude that Benedict’s true purpose could not have been to
obtain an adjudication on the merits of the claim she made because they were so fatally
defective

Also, in the complaint at § 11, the Ry/ans alleges that McGinn-Loomis and
Benedict initially conspired to file a petition for Loomis to become Claire’s legal guardian.
Paragraphs 78-79 then allege that on December 12, 2001, Benedict filed a perjurious petition for
appointment of Guardian and announced that she would, in light of the petition for guardianship,
- dismiss her emancipation, and abuse and neglect claims Paragraphs 89, 90-91 of the complaint
detail the interim orders that Judge Gardner issued and Benedict’s improper conduct in procuring
those orders

In sum, the detailed allegations of the complaint certainly support the theory that
Benedict in conspiracy with McGinn-Loomis could not have filed the claims that she did
because she expected to prevail on the merits lnstead, she filed those claims so that she would
have a vehicle for procuring interim orders that would deprive the Ryans of the right to be
parents to their child and would create the specter of horrible litigation so that the Ryans would
be coerced into simply giving up. This is the definition of abuse of process in the State of

Michigan. Defendants motions under Rule 12(b)(6) should be dismissed.

35

CaSe 1203-CV-00439-DWl\/| ECF NO. 30 filed 09/30/03 Page|D.425 Page 41 Of 42

X. PLAINTIFFS HAVE PROPERLY ALLEGED A CLAIM OF INTENTIONAL
INFLICTION OF EMOTIONAL DISTRESS AGAINST BOTH DEFENDANTS.

Defendants finally move this Court to dismiss the Ryans’ claim of intention
infliction of emotional distress under Rule 12(b)(6), This motion, like many of defendants’ other
motions is premature. ln order to prevail on a claim of intentional infliction of emotional
distress the Ryans must prove: (1) extreme and outrageous conduct by the defendants (2) intent
or recklessness (3) causation; and (4) severe emotional distress Duran v. T he Detroit News,
200 Mich App 622, 629-630; 504 NW2d 715 (1993). The Ryans properly allege each of these
ele/ments in Count Vll of their complaint and intend to prove these elements at trial.

Under Rule 12(b)(6), a district court may dismiss a claim “‘only if it is clear that
no relief could be granted under any set of facts that could be proved consistent with the
allegations of the complaint.”’ Bosscher, supra, quoting Zolman, supra, The Ryans’ allegations
with respect to this claim are unquestionably sufficient to survive a 12(b)(6) motion,
Defendants’ motion on this count should therefore be denied.

CoNCLUsIoN

The Rooker-Feldman doctrine is not applicable because the Ryans’ claims
challenge the propriety of defendants’ conduct not the propriety of the conduct of the state court
The Younger doctrine is also not applicable because the Ryans do not have an adequate
opportunity in the pending state-court proceeding to raise the constitutional claims that they have
raised here. And the Parratt doctrine is not applicable because the Ryans allege constitutional
deprivations pursuant to an “established state court” procedure and because they claim, inter
alia, a substantive due process violation. The Ryans’ pendent state-law claims should not be
dismissed because they are all well-pleaded and because defendants’ 12(b)(6) motions attacking

the state-law claims are premature Nor is McGinn-Loomis immune from suit on the allegations

36

" CaSe 1203-CV-00439-DWl\/| ECF NO. 30 filed 09/30/03 Page|D.426 Page 42 Of 42

made in this case, Finally, the question whether McGinn-Loomis acted “under color of state
law” is also premature And if it is not the Ryans’ have alleged (and defendants have conceded)
sufficient facts to withstand a 12(b)(6) motion on the question whether McGinn-Loomis abused
her position as a court clerk. For all of these reasons defendants’ motions to dismiss under

Rules 12(b)(1) and 12(b)(6) must be denied.

Respectfully submitted,

MILLER, JOHNSOIT, SNELL & CUMMISKEY, P.L.C
Attorneys for Plaintiffs

Dated: September £/, 2003 By QUAA,J/; F/ wa

es S. Brady
chard E. Hillary, lI

Business Address:

250 Monroe Ave., N.W., Ste. 800
P. O. Box 306

Grand Rapids Ml 49501-0306
Telephone: (616) 831-1700

37

